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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


                                                    )
 In re:                                             )    Chapter 11
                                                    )
 USA GYMNASTICS,                                    )    Case No. 18-09108-RLM-11
                                                    )
                              Debtor.               )
                                                    )
 USA GYMNASTICS,                                    )
                                                    )
                           Plaintiff,               )
                    v.                              )    Adv. Case No. 19-50012
                                                    )
 ACE AMERICAN INSURANCE                             )
 COMPANY f/k/a CIGNA INSURANCE                      )
 COMPANY, GREAT AMERICAN                            )
 ASSURANCE COMPANY, LIBERTY                         )
 INSURANCE UNDERWRITERS INC.,                       )
 NATIONAL CASUALTY COMPANY,                         )
 RSUI INDEMNITY COMPANY, TIG                        )
 INSURANCE COMPANY, VIRGINIA                        )
 SURETY COMPANY, INC. f/k/a                         )
 COMBINED SPECIALTY INSURANCE                       )
 COMPANY, WESTERN WORLD                             )
 INSURANCE COMPANY, ENDURANCE                       )
 AMERICAN INSURANCE COMPANY,                        )
 AMERICAN INTERNATIONAL GROUP,                      )
 INC., AMERICAN HOME ASSURANCE                      )
 COMPANY, AND DOE INSURERS,                         )
                                                    )
                           Defendants.              )
                                                    )


                   MOTION FOR STAY OF THE ADVERSARY PROCEEDING

                   The named Defendants in the above-captioned adversary proceeding, Ace

American Insurance Company, f/k/a Cigna Insurance Company, Great American Assurance

Company, Liberty Insurance Underwriters Inc. (“LIU”), National Casualty Company, RSUI

Indemnity Company, TIG Insurance Company, Virginia Surety Company f/k/a Combined


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Specialty Insurance Company, Western World Insurance Company, Endurance American

Insurance Company, American International Group, Inc., and American Home Assurance

Company, through undersigned counsel, file this motion (the “Motion”) pursuant to Rules

5011(c) and 8007 of the Federal Rules of Bankruptcy Procedure for the entry of an order staying

all further proceedings with respect to the claims asserted by USAG against the Defendants in

the above-captioned adversary proceeding (the “Adversary Proceeding”) pending a ruling by the

District Court for the Southern District of Indiana (the “District Court”) regarding the

Defendants’ Motion to Withdraw the Reference of the Adversary Proceeding (the “Motion to

Withdraw Reference”). In support of this Motion, the Defendants respectfully represent as

follows:

                                          BACKGROUND

                   This Adversary Proceeding represents USAG’s second complaint filed with

respect to insurance coverage for Nassar-related claims. On April 6, 2018, USAG, facing

hundreds of lawsuits from Nassar’s victims, filed a coverage action in Indiana state court against

its insurers, including most of the Defendants named again in the Adversary Proceeding. See

Complaint for Breach of Insurance Policy and Declaratory Judgment of Coverage, Indiana

Superior Court Case No. 49D01-1804-PL-013423, a true and correct copy of which is attached

hereto as Exhibit “A”. USAG demanded a jury trial in that coverage action. The defendants

timely removed that action to the District Court. On July 9, 2018, the District Court stayed that

coverage action while USAG sought to resolve the claims of Nassar’s victims through mediation.

On November 5, 2018, the District Court lifted the stay on the coverage action after the attempts

at settlement were unsuccessful. On November 30, 2018, the parties submitted a proposed case

management plan with deadlines through trial. On December 4, 2018, LIU filed a motion to



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dismiss USAG’s complaint in the coverage action pursuant to Fed. R. Civ. P. 12(b)(6) for failure

to state a claim upon which relief can be granted (the “LIU Motion”). See Motion to Dismiss

and Memorandum of Law in support thereof, District Court Case No. 1:18-cv-01306-RLY-MPB,

Dkt. Nos. 65 and 66, true and correct copies of which is attached hereto as Exhibit “B”.

                   On December 5, 2018, USAG filed a voluntary petition for relief under Chapter

11 of the Bankruptcy Code (Title 11 of the United States Code) in the Bankruptcy Court. On

December 14, 2018, USAG filed a “Notice of Stay Due to Bankruptcy” in the District Court

proceeding, asserting (incorrectly) that litigation “involving USAG such as this action” is

automatically stayed. See Notice of Stay Due to Bankruptcy, District Court Case No. 1:18-cv-

01306-RLY-MPB, Dkt. No. 70, a true and correct copy of which is attached hereto as Exhibit

“C”. On January 25, 2019, citing USAG’s bankruptcy filing and the operation of the automatic

stay under 11 U.S.C. § 362, the District Court administratively closed USAG’s original coverage

action against its insurers without prejudice to the rights of the parties to move to reopen the case

within 60 days after the conclusion of USAG’s bankruptcy proceedings. See Order

Administratively Closing Case, District Court Case No. 1:18-cv-01306-RLY-MPB, Dkt. No. 72,

a true and correct copy of which is attached hereto as Exhibit “D”. In the Order, the District

Court ordered that all pending deadlines and motions, which would include the LIU Motion,

were denied as moot. Id.

                   Then, on February 1, 2019, USAG commenced this Adversary Proceeding against

its insurers in the Bankruptcy Court, seeking to litigate the same claims raised in USAG’s initial

complaint against its insurers, including the causes of action for declaratory relief and breach of

contract. A true and correct copy of the Adversary Proceeding Complaint (the “Adversary

Complaint”) is attached hereto as Exhibit “E”. On March 1, 2019, before responsive pleadings



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were due, USAG filed a motion for partial summary judgment against LIU raising many of the

same issues that were set forth in LIU’s Motion. A true and correct copy of that motion is

attached hereto as Exhibit “F”.

                   By way of its Adversary Complaint, USAG asks the Bankruptcy Court to make

findings regarding the extent of USAG’s coverage pursuant to numerous insurance policies

issued by multiple insurance companies spanning over two decades as well as the Defendants’

alleged pre-petition breaches of pre-petition insurance policies. These are classic non-core state

law claims, which the Bankruptcy Court has neither the statutory nor the constitutional authority

to finally adjudicate.

                   Therefore, the Defendants have filed their Motion to Withdraw Reference

pursuant to 28 U.S.C. § 157(d) because: (1) This proceeding is not a “core” bankruptcy

proceeding and the Bankruptcy Court therefore lacks constitutional authority to enter final

judgment on USAG’s claims; (2) The Defendants have a right to a jury trial on USAG’s claims

and will not consent to a jury trial in the Bankruptcy Court; (3) As the resolution of this

Adversary Proceeding turns, not on application or interpretation of bankruptcy law, but rather on

insurance coverage issues with which the Bankruptcy Court has no special experience or

familiarity, the interest of judicial economy counsels litigating this action in the District Court;

and (4) Allowing USAG, after the bankruptcy case was filed and a judge assigned, to

inaccurately represent that the automatic stay applies to the prior pending District Court action in

which a dispositive motion was pending would encourage forum shopping.

                   Courts in this Circuit consistently withdraw the reference in similar non-core,

state law coverage disputes; the Defendants expect the District Court to follow suit here.




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Therefore, the Defendants are now filing this Motion to seek a stay of the Adversary Proceeding

pending resolution of the Motion to Withdraw Reference.

                                             ARGUMENT

                   The Defendants request that this Bankruptcy Court exercise its equitable powers

to issue a stay, pursuant to Fed. R. Bankr. P. 5011(c) and 8007 and Local Bankruptcy Rule B-

5011-1(c), of any and all matters in the Adversary Proceeding, including any scheduling

conferences, pretrial obligations of the parties, discovery, other pretrial matters, and dispositive

motions, including USAG’s motion for partial summary judgment against LIU filed on March 1,

2019, pending the District Court’s disposition of the Withdrawal Motion and ruling regarding in

which forum USAG’s coverage and breach of contract claims should proceed. The Defendants

do not seek a stay of their obligation to file a responsive motion or pleading to the Adversary

Complaint, but they do request that the matter be stayed beyond such responsive motion or

pleading and, if a defendant files a motion to dismiss USAG’s claims, that the Bankruptcy Court

refrain from hearing or determining any of the issues presented therein pending the outcome of

the Motion to Withdraw Reference.

                   Pursuant to Fed. R. Bankr. P. 5011(c), the filing of the Motion to Withdraw

Reference does not automatically stay the administration of the bankruptcy case or any

proceedings in the Bankruptcy Court. However, under Rule 5011(c), the Bankruptcy Court

“may stay, on such terms and conditions as are proper, proceedings pending disposition of the

motion.” In the Southern District of Indiana, Local Bankruptcy Rule B-5011-1(c) provides that

Fed. R. Bankr. P. 8007 governs requests for a stay pending decision on withdrawal of reference.1



1
  Local Bankruptcy Rule B-5011-1(c) actually provides that “Fed. R. Bankr. P. 8005 governs
requests for a stay pending decision on withdrawal of reference.” The Local Bankruptcy Rules
issued by the Bankruptcy Court for the Southern District of Indiana were made effective on June

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Under Fed. R. Bankr. P. 8007, the motion for a stay of proceedings pending the District Court’s

resolution of the Motion to Withdraw Reference generally should be filed in the Bankruptcy

Court.

                   Applying the requirements of Fed. R. Bankr. P. 8007, parties that have filed a

motion to withdraw reference and wish for a stay of all bankruptcy proceedings pending

resolution of that motion must move for a stay in the Bankruptcy Court. In determining whether

a stay is proper pending the District Court’s decision regarding the Motion to Withdraw

Reference, the same standard is applied as is used for any motion for a stay. See Miller v.

Vigilant Ins. Co. (In re Eagle Enterprises), 259 B.R. 83, 86 (Bankr. E.D. Pa. 2001). The movant

must demonstrate: (1) the likelihood of prevailing on the merits in the District Court; (2) that the

movant will suffer irreparable harm if the stay is denied; (3) that the other parties will not be

substantially harmed by the stay; and (4) that the public interest will be served by granting the

stay. See id. at 86-87 (citing 5 Collier on Bankruptcy ¶ 5011.03[2][b], 5011-16,17 (Matthew

Bender 15th Ed. Revised 2000)); Packard Elevator v. I.C.C., 782 F.2d 112, 115 (8th Cir. 1986).

In this case, each of the factors weighs decidedly in favor of granting the Defendants’ Motion.




1, 2010, and have been amended through December 1, 2018. As a result of revisions to the
Federal Rules of Bankruptcy Procedure made on April 25, 2014, and effective as of December 1,
2014, Fed. R. Bankr. P. 8005 became Rule 8007. Current Fed. R. Bankr. P. 8005 is titled
“Election to Have an Appeal Heard by the District Court Instead of the BAP” and cannot
logically relate to a motion for a stay pending resolution of a motion to withdraw reference.
Rather, current Fed. R. Bankr. P. 8007 (what was initially Fed. R. Bankr. P. 8005), titled “Stay
Pending Appeal; Bonds; Suspension of Proceedings”, by its terms relates to motions for the
suspension of proceedings in a case. For that reason, the Defendants will assume that Local
Bankruptcy Rule B-5011-1 intends to refer to what used to be Fed. R. Bankr. P. 8005 and is now
Fed. R. Bank. P. 8007 and the continued reference to Fed. R. Bankr. P. 8005 is an outdated
reference.

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        I.         Likelihood of Success on the Merits of the Motion to Withdraw Reference

                   The Defendants are highly likely to prevail on the merits in regards to their

Motion to Withdraw Reference in the District Court because there are multiple strong bases

demonstrating cause to withdraw the reference pursuant to 28 U.S.C. § 157(d):

                   A. District Courts typically withdraw the reference with respect to non-core
                      claims.

                   The Adversary Proceeding involves exclusively non-core, state law claims. While

USAG alleges to the contrary in the Complaint, it had no basis for doing so. USAG’s claims are

neither specifically delineated as core proceedings in 28 U.S.C. § 157(b), nor do they invoke any

right under the Bankruptcy Code. Under binding Seventh Circuit authority, an insurance

coverage action is not a core proceeding, regardless of the dollar figures involved, and

withdrawal of the reference is appropriate. See In re United States Brass Corp., 110 F.3d 1261,

1268 (7th Cir. 1997). Therefore, the Bankruptcy Court lacks constitutional authority to enter a

final judgment on USAG’s claims unless the parties consent to the Bankruptcy Court’s

resolution of non-core proceedings, which the Defendants do not.2 For this reason alone, the

Defendants’ motion to withdraw the reference will likely be granted. See Diocese of Duluth v.

Liberty Mutual Grp. (In re Diocese of Duluth), Civ. No. 17-549, 2017 WL 3037412 (D. Minn.

July 18, 2017) (concluding that efficiency would be promoted by the district court withdrawing

the reference to the bankruptcy court in the case of an insurance coverage dispute related to


2
 See Stern v. Marshall, 131 S. Ct. 2594, 2603-04 (2011); Wellness Int’l Network, Ltd. v. Sharif,
135 S. Ct. 1932, 1939-40 (2015); In re United States Brass Corp., 110 F.3d 1261, 1268 (7th Cir.
1997) (citing 28 U.S.C. § 157(b)(2)); Barnett v. Stern, 909 F.2d 973, 981 (7th Cir. 1990); and
Phar-Mor, Inc. v. Coopers & Lybrand, 22 F.3d 1228, 1234-35 (3d Cir. 1994)); Home Ins. Co. v.
Cooper & Cooper, Ltd., 889 F.2d 746, 749 (7th Cir. 1989) (quoting In re Xonics, Inc., 813 F.2d
127, 131 (7th Cir. 1987)); Kim Littlefield, DMD, P.C. v. Orthodontic Ctrs. of Ill., Inc., Civ. No.
06-606-GPM, 2007 WL 273766, at *3 (S.D. Ill. Jan. 26, 2007); Beard v. Braunstein, 914 F.2d
434, 445 (3d Cir. 1990); and Matter of Delaware & Hudson Ry Co., 122 B.R. 887, 894 (D. Del.
1991).

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Diocesan abuse); Hatzel & Buehler, Inc. v. Orange & Rockland Utilities, Inc., 107 B.R. 34, 40

(D. Del. 1989) (concluding that permissive withdrawal was appropriate in light of considerations

of judicial economy because the adversary proceeding was non-core and subject to de novo

review); Wellman Thermal Sys. Corp. v. Columbia Casualty Co., No. 1:05-cv-1191, 2005 WL

4880619, at *3 (S.D. Ind. Oct. 5, 2005) (“The bankruptcy judge’s proposed findings and

conclusions in this noncore proceeding would be subject to de novo review by the district court,

possibly resulting in inefficient duplication by the two courts.”).

                   B. The Defendants have a right to a jury trial, which can only be held in the
                      District Court.

                   The Defendants are entitled to a jury trial on both of USAG’s claims because they

either allege breach of contract or require a determination of contractual rights to insurance

coverage, and the Defendants do not expect to waive that right. The Bankruptcy Court, however,

may not hold such a jury trial for two independent reasons. First, the Bankruptcy Court is not

permitted to hold a jury trial on non-core claims. See 28 U.S.C. § 157(c); Beard v. Braunstein,

914 F.2d 434, 443 (3d Cir. 1990) (stating the Seventh Amendment ban on de novo review of any

fact found by a jury is incompatible with 28 U.S.C. § 157(c)(1) and concluding that “a

bankruptcy court cannot conduct a jury trial in a non-core proceeding”). Second, even if

USAG’s claims were core—which they are not—a jury trial would still not be possible absent

express consent of all parties. See 28 U.S.C. § 157(e) (“If the right to a jury trial applies in a

proceeding that may be heard under this section by a bankruptcy judge, the bankruptcy judge

may conduct the jury trial if specially designated to exercise such jurisdiction by the district

court and with the express consent of all the parties.”); NDEP Corp. v. Handl-It, Inc. (In re

NDEP Corp.), 203 B.R. 905, 908 (D. Del. 1996). Since the Defendants intend to exercise their

right to a trial by jury, the District Court will likely withdraw the reference to the Bankruptcy


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Court, where no jury trial could occur. See Caruso v. Modany, No. 1:18-cv-02182, 2019 WL

118520, at *1 (S.D. Ind. Jan. 7, 2019) (holding that unless all parties consent to a jury trial before

the bankruptcy judge, cause exists to withdraw the reference).

                   C. Permissive withdrawal is appropriate in this case in the interests of
                      judicial economy and efficiency.

                   The District Court is also highly likely to withdraw the reference because this

Adversary Proceeding does not draw on the expertise or familiarity of the Bankruptcy Court.

The Adversary Proceeding is newly-filed. No answers or counter-claims have been filed. No

discovery has been taken, and there has been no substantive motion practice.3 Thus, withdrawal

of the reference at this point in the proceedings would not result in any duplication of effort.

Additionally, the Bankruptcy Court has not yet gained extensive factual knowledge associated

with the Adversary Proceeding. Nor will the Adversary Proceeding require any specialized

bankruptcy knowledge to resolve. See In re G-I Holdings, Inc., 295 B.R. 211, 217-18 (D.N.J.

2002) (“Because this proceeding entails exclusively state law claims against a non-debtor, it is in

the Court’s best interest to adjudicate the non-bankruptcy dispute once, while the Bankruptcy

Court continues to administer the chapter 11 reorganization and conduct other common

bankruptcy proceedings.”); see also Baxter v. Sherb & Co., LLP (In re Money Ctrs. of Am., Inc.),

579 B.R. 710, 715 (S.D.N.Y. 2016) (“[I]t is a waste of judicial resources for a court of

specialized bankruptcy knowledge to administer a case that does not require application of that

knowledge.”). Meanwhile, there already exists a District Court action against mostly the same

defendants and regarding mostly the same issues, in which a case management plan has already




3
  As noted above, on March 1, 2019, before responsive pleadings were due, USAG filed a
motion for partial summary judgment against one defendant, LIU, raising many of the same
issues that were set forth in LIU’s Motion.

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been filed. That action could be reactivated with ease, and the Defendants expect the District

Court to do so.

                   D. Permissive withdrawal is appropriate in this case in the interest of
                      avoiding forum shopping.

                   Finally, the District Court is highly likely to withdraw the reference of the

Adversary Proceeding due to the risk of forum shopping. 4 The same coverage issues were raised

in USAG’s initial coverage action, brought initially in Indiana State Court and then timely

removed to the District Court. USAG filed that coverage action against nearly all of the

defendants in the Adversary Proceeding.5 No defendant in that action sought to recover money

from USAG or sought to take any action against USAG or property of the bankruptcy estate. To

the contrary: the only claims asserted in that action sought to increase the property of the estate.

Therefore, the automatic stay did not apply, and the District Court need not have administratively

closed the initial action in response to USAG’s Notice of Bankruptcy or ordered the pending LIU

Motion denied as moot. The automatic stay only applies to suits against the debtor (with limited

exceptions of no relevance to this case), not to suits filed by the debtor against others, regardless




4
  See Maxwell v. Kemp (In re Beale), 410 B.R. 613, 616 (N.D. Ill. 2009); In re New Energy
Corp., No. 12-33866, 2013 WL 1192774, at *6 (N.D. Ind. Mar. 14, 2013); In re Pruitt, 910 F.2d
1160, 1168 (3d Cir. 1990); Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th
Cir. 1985); and Lawrence Grp., Inc. v. Hartford Casualty Ins. Co. (In re Lawrence Group, Inc.),
285 B.R. 784, 789 n.6 (N.D.N.Y 2002).
5
  In the Adversary Proceeding, in addition to the general liability and directors & officers
(“D&O”) liability carriers named in the original District Court proceeding, USAG sued four
additional entities: Western World Insurance Company (“Western World”), Endurance American
Insurance Company (“Endurance”), American International Group, Inc. (“AIG”), and American
Home Assurance Company (“American Home”). Western World and American Home are
subsidiaries of AIG. Western World and Endurance allegedly issued more recent D&O policies
to USAG. USAG alleges that AIG and/or American Home and/or one of AIG’s other
subsidiaries may have issued additional policies to USAG. The Adversary Proceeding also adds
some specificity to the coverage issues and underlying claims at issue. However, the substantive
issues addressed in the two complaints proceedings are essentially the same.

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of whether opposition to the debtor’s claims might prevent the debtor from augmenting its estate.

See In re Londrigan, No. 14-70025, 2014 WL 4384368, at *5 n.1 (C.D. Ill. Sept. 3, 2014) (“The

automatic stay does not bar continuation of actions commenced by a debtor pre-petition where

the debtor is the original plaintiff or movant.”) (citing Martin-Trigona v. Champion Fed. Sav.

and Loan Assoc., 892 F.2d 575, 577 (7th Cir. 1989)); Bryner v. LeBaron (In re Bryner), 425 B.R.

601, 608 (10th Cir. B.A.P. 2010). As the Seventh Circuit has observed, “[t]he fundamental

purpose of bankruptcy, from the creditors’ standpoint, is to prevent creditors from trying to steal

a march on each other . . . . There is, in contrast, no policy of preventing persons whom the

bankrupt has sued from protecting their legal rights.” Martin-Trigona, 892 F.2d at 577.

                   But irrespective of whether the administrative closing (without prejudice to re-

open) was correct, there is no dispute that the case can be reopened. An administrative closing is

not a dismissal and, indeed, the District Court’s order expressly recognized that the case might

need to be reopened. That is exactly what should, in essence, occur here. USAG’s coverage

claims are properly before the District Court and can be brought there, either through reopening

the initial case or withdrawing the reference for the Adversary Proceeding.6 Permitting a debtor

effectively to transfer its own pre-petition action, already pending before an assigned judge in the

District Court and subject to a dispositive motion, to the Bankruptcy Court through filing of an

erroneous “Notice of Automatic Stay” would improperly reward forum shopping, particularly

when the parties had no reason to believe, pre-petition, that they would litigate any related claims

in Bankruptcy Court. See Lawrence Grp., Inc. v. Hartford Casualty Ins. Co. (In re Lawrence

Group, Inc.), 285 B.R. 784, 789 n.6 (N.D.N.Y 2002) (finding that forum shopping would be



6
 The Complaint filed in the Adversary Proceeding would then, effectively, be the amended
complaint that USAG informed the parties that it planned to file in the District Court before that
case was administratively closed.

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prevented by withdrawal because the defendant insurer, at the time it issued the relevant policy,

had no reason to believe that any disputes arising out of the policy would be litigated in a

bankruptcy court and the defendant “should not be obligated to litigate in a forum that was not

reasonably . . . foreseeable or expected at the time it issued the policies”). Failing to withdraw

the reference would further USAG’s improper attempt to avoid the appropriate forum for this

dispute, namely the District Court. Withdrawal of the reference is warranted where, as here,

doing so will avoid improper forum shopping and ensure that the relevant dispute will be

litigated in an appropriate forum. For these reasons, withdrawal is warranted in this case and will

likely be granted by the District Court.

         II.       Irreparable Harm to the Defendants and No Harm to USAG

                   Staying the Adversary Proceeding pending the District Court’s resolution of the

Motion to Withdraw Reference will cause no harm to USAG and will prevent irreparable harm

to the Defendants. As explained briefly above and in greater detail in the Motion to Withdraw

Reference, because the Adversary Proceeding relates to strictly non-core, state law claims, the

Bankruptcy Court cannot issue a final judgment on either claim; any rulings of the Bankruptcy

Court would have to be reviewed by the District Court de novo. Therefore, if the adversary

proceeding is not stayed while the District Court reviews the Motion to Withdraw Reference, the

Defendants, as well as USAG, will suffer harm in the form of duplicative costs of litigating the

insurance coverage and breach of contract dispute in both the Bankruptcy Court and the District

Court. See Miller v. Vigilant Ins. Co. (In re Eagle Enterprises), 259 B.R. 83, 88 (Bankr. E.D. Pa.

2001).

                   The Adversary Proceeding has only just begun. In such circumstances, where no

discovery has taken place and no pretrial scheduling has occurred, there is no prejudice to the



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plaintiff in staying the proceeding pending a decision regarding the proper forum for the dispute.

See id. at 89. To the extent that USAG would be prejudiced at all by a stay of the Adversary

Proceeding, “any such potential harm is seemingly greatly outweighed by the attendant benefits

to the parties, as well as a consideration of the public interest, judicial economy and uniformity.”

Id. Moreover, the Defendants are only requesting a stay of the Adversary Proceeding—not the

whole bankruptcy case; if the Adversary Proceeding is stayed while the District Court considers

the Motion to Withdraw Reference, USAG will still be able to negotiate with its creditors and

work towards a resolution of claims against it.

        III.       The Public Interest Favors a Stay

                   The public interest weighs in favor of granting a stay of the Adversary

Proceeding. Any proceedings that would take place in the Bankruptcy Court pending the District

Court’s ruling on the Motion to Withdraw Reference would have to be repeated in the District

Court when the District Court withdraws the reference for cause pursuant to 28 U.S.C. § 157(d).

Therefore, no time would be saved by having the Adversary Proceeding progress in the

Bankruptcy Court.

                   The interest of conservation of judicial resources weighs in favor of staying the

Adversary Proceeding. Because the Adversary Proceeding has only just recently been filed and

there have been no substantive proceedings in connection with the Adversary Proceeding, the

entirety of the Adversary Proceeding should be heard in the District Court. While some courts

allow bankruptcy courts to retain jurisdiction over pretrial matters, including discovery and

dispositive motions, citing the interest of conserving judicial resources, the interest of conserving

judicial resources is best served by withdrawing the reference of the Adversary Proceeding in its

entirety and having all proceedings take place in the District Court because no substantive



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proceedings have taken place yet in the Bankruptcy Court and the District Court is better situated

to handle the claims asserted in the Adversary Complaint.

                   Moreover, continuing the litigation of the Adversary Proceeding in the

Bankruptcy Court now and then duplicating the work in the District Court after the reference is

withdrawn would increase the costs of litigation for not only the Defendants but also for USAG.

Any increase in USAG’s litigation costs depletes the bankruptcy estate and leaves less money to

be distributed to USAG’s creditors, including the victims of Nassar’s abuse who have filed

hundreds of claims against USAG.

                                            CONCLUSION

                   For the foregoing reasons, the Defendants respectfully request that this Court stay

all proceedings against the Defendants in this Adversary Proceeding, including any scheduling

conferences, pretrial obligations of the parties, discovery, and any motions, pending the District

Court’s disposition of the Withdrawal Motion and ruling regarding in which forum USAG’s

coverage and breach of contract claims should properly proceed.


                                                 KROGER, GARDIS & REGAS, LLP
Dated: March 5, 2019

                                                 By       /s/ Harley K. Means________________
                                                      Stephen J. Peters, Attorney No. 6345-49
                                                      Harley K. Means, Attorney No. 23068-32
                                                      Counsel for Defendant, Defendant, ACE
                                                      American Insurance Company f/k/a CIGNA
                                                      Insurance Company
                                                      Kroger, Gardis & Regas, LLP
                                                      111 Monument Circle, Suite 900
                                                      Indianapolis, IN 46204
                                                      (317) 692-9000
                                                      (317) 264-6832 (Fax)
                                                      speters@kgrlaw.com
                                                      hmeans@kgrlaw.com



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Pursuant to the ECF Administrative Policies and Procedures Manual (Attorney) for the United
States Bankruptcy Court for the Southern District of Indiana, undersigned counsel represent the
other named Defendants in the Adversary Proceeding and are authorized to represent that each of
their clients consents to the stay of this Adversary Proceeding pending the District Court’s ruling
on the Motion to Withdraw the Reference and that ACE American’s counsel may electronically
file their signatures.



                                                 /s/ Karen M. Dixon
                                                 Counsel for Great American Assurance
                                                 Company, Consents to this Motion for
                                                 Withdrawal of Reference
                                                 Karen M. Dixon, Attorney No. 6242799IL
                                                 SKARZYNSKI MARICK & BLACK LLP
                                                 205 North Michigan Avenue, Suite 2600
                                                 Chicago, IL 60601
                                                 (312) 946-4233
                                                 (312) 946-4272 (Fax)
                                                 kdixon@skarzynski.com
                                                 Michael M. Marick, Attorney No. 6183285IL
                                                 SKARZYNSKI MARICK & BLACK LLP
                                                 205 North Michigan Avenue, Suite 2600
                                                 Chicago, IL 60601
                                                 (312) 946-4235
                                                 (312) 946-4272 (Fax)
                                                 mmarick@skarzynski.com
                                                 James P. Ruggeri (admitted pro hac vice)
                                                 SHIPMAN & GOODWIN LLP
                                                 1875 K Street NW, Suite 600
                                                 Washington, DC 20006-1251
                                                 (202) 469-7752
                                                 (202) 469-7751 (Fax)
                                                 jruggeri@goodwin.com
                                                 Joshua D. Weinberg (admitted pro hac vice)
                                                 SHIPMAN & GOODWIN LLP
                                                 1875 K Street NW, Suite 600
                                                 Washington, DC 20006-1251
                                                 (202) 469-7755
                                                 (202) 469-7751 (Fax)
                                                 jweinberg@goodwin.com

                                                 /s/ Ginny L. Peterson
                                                 Counsel for Liberty Insurance Underwriters
                                                 Inc., Consents to this Motion for Withdrawal of
                                                 Reference
                                                 Ginny L. Peterson, Attorney No. 20305-41


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                                         KIGHTLINGER & GRAY, LLP
                                         One Indiana Square, Suite 300
                                         211 North Pennsylvania Street
                                         Indianapolis, IN 46204
                                         (317) 638-4521
                                         (317) 636-5917 (Fax)
                                         gpeterson@k-glaw.com

                                         /s/ Anthony M. Zelli
                                         Counsel for National Casualty Company,
                                         Consents to this Motion for Withdrawal of
                                         Reference
                                         Anthony M. Zelli, Attorney No. 30470-10
                                         DINSMORE & SHOHL, LLP
                                         101 S. Fifth Street, Suite 2500
                                         Louisville, KY 40202
                                         (502) 540-2300
                                         (502) 585-2207 (Fax)
                                         anthony.zelli@dinsmore.com
                                         Hans H.J. Pijls, Attorney No. P37248 (MI)
                                         DINSMORE & SHOHL, LLP
                                         300 N. Fifth Avenue
                                         Ann Arbor, MI 48104
                                         (734) 773-4050
                                         (734) 913-6007 (Fax)
                                         hans.pijls@dinsmore.com

                                         /s/ Jeffrey B. Fecht
                                         Counsel for RSUI Indemnity Company,
                                         Consents to this Motion for Withdrawal of
                                         Reference
                                         Jeffrey B. Fecht, Attorney No. 20875-29
                                         RILEY BENNETT EGLOFF LLP
                                         141 East Washington St.
                                         Fourth Floor
                                         Indianapolis, IN 46204
                                         (317) 636-8000
                                         (317) 636-8027 (Fax)
                                         jfecht@rbelaw.com

                                         /s/ Scott P. Fisher
                                         Counsel for TIG Insurance Company,
                                         Consents to this Motion for Withdrawal of
                                         Reference
                                         Scott P. Fisher, Attorney No. 26813-49
                                         DREWRY SIMMONS VORNEHM, LLP
                                         736 Hanover Place, Suite 200

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                                         Carmel, IN 46032
                                         (317) 580-4848
                                         (317) 580-4855 (Fax)
                                         sfisher@dsvlaw.com
                                         George R. Calhoun (admitted pro hac vice)
                                         IFRAH LAW
                                         1717 Pennsylvania Avenue NW, Suite 650
                                         Washington, DC 20006
                                         (202) 524-4147
                                         george@ifrahlaw.com

                                         /s/ James P. Moloy
                                         Counsel for Virginia Surety Company Inc.
                                         Successor to Combined Specialty Insurance
                                         Company, Consents to this Motion for
                                         Withdrawal of Reference
                                         James P. Moloy, Attorney No. 10301-49
                                         BOSE MCKINNEY & EVANS LLP
                                         111 Monument Circle, Suite 2700
                                         Indianapolis, IN 46204
                                         (317) 684-5000
                                         (317) 684-5173 (Fax)
                                         jmoloy@boselaw.com
                                         Robert B. Millner (admitted pro hac vice)
                                         DENTONS US LLP
                                         233 S. Wacker Drive, Suite 5900
                                         Chicago, IL 60606
                                         (312) 876-8000
                                         robert.millner@dentons.com
                                         Kevin P. Kamraczewski (admitted pro hac vice)
                                         LAW OFFICES OF KEVIN P.
                                         KAMRACZEWSKI
                                         332 South Michigan Avenue, Suite 1032 K363
                                         Chicago, IL 60604-4434
                                         (312) 697-9768
                                         kevin@kevinklaw.com

                                         /s/ Bruce Kamplain
                                         Counsel for Western World Insurance
                                         Company, Consents to this Motion for
                                         Withdrawal of Reference
                                         Bruce Kamplain, Attorney No. 5065-49
                                         NORRIS CHOPLIN SCHROEDER LLP
                                         101 West Ohio Street, Ninth Floor
                                         Indianapolis, IN 46204-4213



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                                         (317) 269-9330
                                         (317) 269-9338 (Fax)
                                         bkamplain@ncs-law.com

                                         /s/ Wendy D. Brewer
                                         Counsel for Endurance American Insurance
                                         Company, Consents to this Motion for
                                         Withdrawal of Reference
                                         Wendy D. Brewer, Attorney No. 22669-49
                                         FULTZ MADDOX DICKENS PLC
                                         333 North Alabama Street, Suite 350
                                         Indianapolis, IN 46204
                                         (317) 567-9048
                                         (317) 252-0275 (Fax)
                                         wbrewer@fmdlegal.com

                                         /s/ Susan N. K. Gummow
                                         Counsel for American International Group, Inc.
                                         and American Home Assurance Company,
                                         Consents to this Motion for Withdrawal of
                                         Reference
                                         Susan N. K. Gummow (pro hac vice pending)
                                         Igor Shleypak (pro hac vice pending)
                                         FORAN GLENNON PALANDECH PONZI &
                                         RUDLOFF P.C.
                                         222 North LaSalle Street, Suite 1400
                                         Chicago, IL 60601
                                         (312) 863-5000
                                         (312) 863-5009 (Fax)
                                         sgummow@fgppr.com
                                         ishleypak@fgppr.com




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2019, of the foregoing Motion for Stay was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

 Steven Baldwin
 Tonya J. Bond
 Gregory M. Gotwald
 Christopher Kozak
 sbaldwin@psrb.com
 tbond@psrb.com
 ggotwald@psrb.com
 ckozak@psrb.com

 United States Trustee
 ustpregion10.in.ecf@usdoj.gov




         I further certify that on March 5, 2019, the foregoing Motion for Stay was mailed by the
first-class U.S. Mail, postage prepaid, and properly addressed to the following:




                                                  By: /s/ Harley K. Means_________
                                                     Stephen J. Peters, #6345-49
                                                     Attorneys for Defendant,
                                                     ACE American Insurance Company f/k/a
                                                     CIGNA Insurance Company
                                                     KROGER, GARDIS & REGAS, LLP
                                                     111 Monument Circle, Suite 900
                                                     Indianapolis, IN 46204-5125
                                                     (317) 692-9000
                                                     (317) 264-6832 Fax
                                                     speters@kgrlaw.com




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